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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

      1. MICHAEL AARON TEW;

      2. KIMBERLY ANN TEW; and
         a/k/a Kimberley Vertanen

      3. JONATHAN K. YIOULOS,

 Defendants.



              MICHAEL TEW’S NOTICE OF FILING OF VISUAL PRESENTATION


         Michael Tew, by and through counsel Kristen M. Frost of Ridley McGreevy & Winocur

 and Jason D. Schall of Bowlin & Schall, hereby submits the following PowerPoint presentation

 that Michael Tew’s counsel used during closing argument at trial. No visual presentation was

 used during Mr. Tew’s opening statement.

         Respectfully submitted this 24th day of April, 2024.

                                              s/ Kristen M. Frost
                                              Kristen M. Frost
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                                             s/ Jason D. Schall
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                                             Attorneys for Defendant Michael Tew


         I hereby certify that the foregoing pleading complies with the type-volume limitation set
 forth in Judge Domenico’s Practice Standard III(A)(1).
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 24th day of April, 2024, I served a true and correct copy of the
 foregoing MICHAEL TEW’S NOTICE OF FILING OF VISUAL PRESENTATION
 electronically with the Clerk of the Court via the CM/ECF system, which will send notice of
 such filing to the Court and parties.



                                                       s/ Kristin McKinley
                                                       Kristin McKinley
